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                        UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                               Alexandria Division


                                                    )
JUAN ALDANA,                                        )
                                                    )
                      Plaintiff,                    )
          v.                                        )       Case No. 1:16-cv-00038 (GBL/TCB)
                                                    )
EAGLE ATLANTIC FINANCIAL SERVICES,                  )
INC.,                                               )
                                                    )
                      Defendant.                    )
                                                    )


                      NOTICE OF DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff dismisses this action with prejudice

against Defendant Eagle Atlantic Financial Services, Inc., who has yet to file an answer or

motion for summary judgment.


                                                 Respectfully submitted,
                                                 JUAN ALDANA


                                                 /s/ Kristi Cahoon Kelly____________
                                                 Kristi Cahoon Kelly (VSB #72791)
                                                 Andrew J. Guzzo (VSB #82170)
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                                                 Counsel for Plaintiff
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 19th day of February, 2016, I will electronically file the
foregoing with the Clerk of Court using the CM/ECF system, which will then send a notification
of such filing (NEF) to counsel of record.



                                           /s/ Kristi Cahoon Kelly____________
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                                           Counsel for Plaintiff




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